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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION
__________________________________________
                                           §
In re:                                     § Chapter 11
                                           §
EMAS CHIYODA SUBSEA LIMITED, et al., §       Case No. 17-31146
                                           §
                        Debtors.1          § (Jointly Administered)
__________________________________________§

        CROWLEY MARITIME CORPORATION’S NOTICE OF PERFECTION OF
               MARITIME LIEN PURSUANT TO SECTION 546(b)

         Crowley Maritime Corporation (“Crowley”) hereby gives notice pursuant to 11 U.S.C.

§ 546(b) of the perfection of its maritime and carrier liens.

         1.        Overview. In coordination with the Debtors, Crowley’s 455-6 barge (referred to

by the Debtors as the “RB1”) was uniquely retrofitted and customized to provide supplies,

mobile reel storage, spooling of pipe, and transportation of pipe spools (both empty and loaded

with strings of pipe) for the Debtors and the Lewek Constellation vessel (the “Constellation”),

referenced as owned by Lewek Constellation Pte. Ltd.                      Crowley, via the RB1, provides

“necessaries” under 46 U.S.C. §31342 to the Constellation and Debtors. Support and availability

for the Constellation was and continues to be the RB1’s sole function (with its customization, the

RB1 can only provide services to the Constellation and cannot be used for any other purpose, as

a cargo barge or otherwise). After an active seven month project to fundamentally modify the

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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number
and jurisdiction of formation are as follows: EMAS CHIYODA Subsea Limited (UK) (3187); EMAS Chiyoda
Subsea Inc. (Delaware) (7884); EMAS CHIYODA Subsea Marine Base LLC (Texas) (5974); Lewek Falcon
Shipping Pte. Ltd. (Singapore) (041E); EMAS CHIYODA Marine Base Holding Co., LLC (Texas) (7463); EMAS
Chiyoda Subsea Services Pte. Ltd. (Singapore) (333Z); EMAS-AMC Pte. Ltd. (Singapore) (0442); EMAS Saudi
Arabia Ltd. (Saudi Arabia) (0669); Lewek Constellation Pte. Ltd. (Singapore) (376E); EMAS CHIYODA ROV
Pte. Ltd. (Singapore) (049M); EMAS CHIYODA Subsea Services B.V. (Netherlands) (4073); EMAS CHIYODA
Subsea Services (UK) Limited (Scotland) (3187); EMAS CHIYODA Subsea Services LLC (Delaware) (1728);
EMAS CHIYODA Subsea (Thailand) Co., Ltd. (Thailand) (1011); Gallatin Marine Management, LLC (Delaware)
(8989). The address of the Debtors’ U.S. headquarters is 825 Town & Country Ln, Suite 1500, Houston, TX
77024.



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RB1 (including extensive structural alterations and the integration of ballast transfer, hydraulic,

electrical, and other systems above and below deck), it is the only barge in the world capable of

supporting and enabling the Constellation’s rigid pipelay ability, rendering the RB1 critical to the

functional project purposes of the Constellation.        Since January 2015, the RB1 has been

exclusively dedicated to and under the control of the Debtors.

         2.        As of the Petition Date, Crowley was owed at least $1,361,558.20 in unpaid

monthly invoices under its charter party for the RB1. Crowley continues to accrue damages at a

rate of at least $9,300 per day since the Petition Date, plus interest and fees. Crowley also faces

damages from any failure of the Debtors to restore the RB1 to its original condition upon a final

redelivery of the RB1. While all maintain that Crowley and the RB1 are critical to projects

involving the Constellation, Crowley has yet to receive any payment since the filing of the

Bankruptcy Cases.

         3.        Liens. Crowley is a secured creditor as a result of a general maritime lien under

46 U.S.C. §31342 and asserts in rem secured claims in the amount of at least $1,361,558.20, plus

interest and fees, accruing daily damages, and restoration costs. Crowley’s maritime lien is both

against the Constellation and against the fixtures, appurtenances, improvements, equipment and

apparel – specifically including the four spools of pipe – and infrastructure installed by the

Debtors on the RB1. Crowley also holds, among other secured rights, a carrier’s lien against all

assets, fixtures, appurtenances, improvements, equipment and apparel on the RB1, including by

7.07 TBCC. See also Dkt. No. 242 at p. 30; Crowley Proof of Claim No. 316; Int’l Marine

Towing, Inc. v. S. Leasing Partners, Ltd., 722 F.2d 126, 130 (5th Cir. 1983); (bareboat charters

are essentially agreements maritime in nature, with maritime liens arising therefrom); U.S. v. F/V

Sylvester F. Whalen, 217 F. Supp. 916, 917 (D. Me. 1963) (items of equipment installed aboard a




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vessel which become an integral part of the vessel are subject to the maritime liens). Crowley’s

carrier and maritime liens result against the assets and the Constellation (including sale proceeds)

also through the RB1’s dedicated and exclusive capacity to the Constellation.

         4.        Crowley reserves the right to supplement and/or amend this notice. Crowley

further reserves all rights under applicable law.




Dated: May 19, 2017                           SIDLEY AUSTIN LLP

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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 19th day of May, 2017, a copy of the foregoing Notice of
Perfection of Maritime Lien Pursuant to Section 546(b) was filed electronically with the Clerk of
Court using the CM/ECF system. Notice of this filing will be sent to all counsel and/or parties
by operation of the court’s electronic filing system.



                                            /s/ Michael Fishel
                                            Michael Fishel




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